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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


LISA ENLOW and JOHN ENLOW,

                    Plaintiffs,

v.                                                    Case No.: 6:22-cv-1319-WWB-EJK

JEFFREY SPEARS, PALM BAY
POLICE DEPARTMENT, CITY OF
PALM BAY, SUZANNE SHERMAN,
NELSON MOYA and JOHN RESH,

                    Defendants.
                                         /

      THIS CAUSE is before the Court upon sua sponte review of the file. On March 20,

2023, the parties were ordered to file a case management report on or before March 29,

2023. (Doc. 21 at 1). The parties were warned that failure to comply could result in

dismissal of this case without further notice. (Id.). On March 29, 2023, Plaintiffs filed a

Motion for Extension of Time to File Case Management Report (Doc. 24), which was

denied without prejudice for failure to comply with Local Rule 3.01(g). To date, Plaintiffs

have neither filed a motion for an extension that complies with the Local Rules, nor a case

management report.

      Therefore, it is ORDERED and ADJUDGED that this case is DISMISSED without

prejudice for failure to prosecute. See Betty K Agencies, Ltd. v. M/V MONADA, 432 F.3d

1333, 1337 (11th Cir. 2005) (noting that a court may sua sponte dismiss a case under its

inherent authority to manage its docket). The Clerk is directed to terminate all pending

motions and close this case.

      DONE AND ORDERED in Orlando, Florida on May 2, 2023.
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Copies furnished to:

Counsel of Record
Unrepresented Parties




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